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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
JOSE MARIANO VARELA-                                      :
ITZMOYOTL, individually and on behalf of :
others similarly situated                                 :
                                                          :               20-cv-3896 (VSB)
                                        Plaintiff,        :
                                                          :                    ORDER
                      -against-                           :
                                                          :
94 CORNER CAFE CORP. d/b/a 94 Corner :
Cafe                                                      :
                                                          :
                                        Defendant. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        It has come to my attention that the related case, Varela-Itzmoyotl et al v. 94 Corner Cafe

Corp. et al., 1:17-cv-7620-DCF., has been terminated upon settlement. Accordingly, it is

hereby:

        ORDERED that the above-captioned action is discontinued without costs to any party

and without prejudice to restoring the action to this Court’s docket if the application to restore

the action is made on or before June 17, 2022.

SO ORDERED.

Dated: June 9, 2022
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
